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            EXHIBIT C
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                                                         Prepared for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holdings, Inc.




Life Partners Debtors
Projected Portfolio Performance ($000's)

Total Portfolio Face Value [1]                               $2,308,160
                                   [2]
Total Portfolio Invested Capital                             $1,364,403

                                                                                                                                                                                                                           % of
                                                                                                                                                                                              2016 ‐ 45     % of Face    Invested
                                                                 2012 [3]    2013 [3]    2014 [3]    2015 [3] [4]    2016 [5]        2017         2018        2019‐2025      2026‐2045         Total [8]    Value [9]    Capital [9]
TOTAL PORTFOLIO PERFORMANCE
Total Maturities                                             $      70,119 $ 36,643 $ 78,528 $ 118,340 $               143,664 $ 164,362 $ 181,445 $ 1,111,697 $                 461,307 $ 2,062,475
Total Premiums                                                     (93,149) (100,414) (106,310) (45,639)               (50,660)  (68,980)  (82,371)   (528,627)                 (194,030)   (924,668)
 Portfolio Cash Flow ‐ Sub Total [6]                               (23,030) (63,771) (27,782)    72,701                 93,004    95,382    99,074     583,070                   267,277   1,137,807          54%           91%

Servicing Fees (3.0% of Maturities)                                                                                      (4,310)      (4,931)       (5,443)      (33,351)        (13,839) $      (61,874)
 Portfolio Cash Flow [7]                                                                                                88,694        90,451       93,630        549,719        253,438        1,075,933      51%           86%

NOTES
The accompanying Global Notes are an integral part of the financial information and exhibits included with the Debtors' Second Amended Plan of Reorganization and Disclosure
Statement, which should be read together with the financial information and exhibits contained therein. References to the company in the financial exhibits include all of the Debtors or
the Successor Entities (other than the Creditors' Trust) as the context requires.

[1] Portfolio face value is estimated based on company records as of 3/15/2016, excluding maturities held in escrow.
[2] Invested Capital is estimated as of 3/15/2016 based on company records of acquisition cost and premium escrow/expense.
[3] Historical maturities and premiums are based on company records.
[4] Premiums were lower in 2015 as compared to earlier years due to premium optimization efforts initiated by the Chapter 11 Trustee. Maturities prior to the Subsidiary Petition Date were paid out to
investors. Post‐petition maturities have been held in escrow, to the extent received, and are currently estimated at $76.5 million as of 12/31/2015, and $98.6 million, as of 2/28/2016. A $25 million maturity
funds facility is expected to have been fully drawn by the Effective Date, reducing this amount, and is to be repaid by the Position Holder Trust pursuant to the Plan.
[5] The projection for 2016 includes pre‐ and post‐Effective Date amounts. The Effective Date is assumed to be 7/31/2016.
[6] Maturities and premiums were generally projected at the portfolio level, not by individual policy or position.
‐ Actual results will vary from these projections due to naturally occurring statistical fluctuations and actual mortality rates; variances could be material.
‐ Maturities were projected by analyzing actual portfolio experience, the 2015 VBT, select relevant factors including mortality tables as published by the Society of Actuaries, applying mortality improvement in
the future, and adjusting multiples appropriately as the population ages.
‐ Projected premiums were optimized where possible, including application of cash surrender values, where appropriate. Where premium optimization, or information, was not available, historical or current
performance, including level premium estimates, was used.
[7] Portfolio Cash Flow reflects projected total cash flow from Beneficial Ownership of the entire policy portfolio without regard to Investor elections under the Plan.
[8] Near term annual performance is illustrated, up to a ten year term (2025), and up to a 30 year term (2045). There are an additional $62 million in maturities forecasted to occur after 2045, requiring $26.8
million in premiums. The estimated portfolio cash flow on these remaining maturities (after deduction of servicing and any custodial account costs) would be $33.3 million, an additional 2.44% of invested
capital.
[9] Presentation of '% of Face Value' and '% of Invested Capital' reflect projected recoveries paid out to Investors, as detailed in the accompanying Feasibility of Plan Entities exhibit. Recovery calculations
include distribution of maturity funds held in escrow on post‐petition maturities (of $98.6 million). Actual results will vary from the projections, perhaps materially, and are subject to all of the risks described
in the Disclosure Statement.
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       Prepared for H. Thomas Moran, Chapter 11 Trustee of Life Partners Holding, Inc.
                          Subject to Further Review and Revision


  Life Partners Debtors
  Global Notes to Financial Information - Amended Plan & Disclosure Statement

  THE GLOBAL NOTES ARE AN INTEGRAL PART OF THE FINANCIAL INFORMATION
  AND EXHIBITS INCLUDED WITH THE DEBTORS’ AMENDED PLAN OF
  REORGANIZATION AND DISCLOSURE STATEMENT, WHICH SHOULD BE READ
  TOGETHER WITH THE FINANCIAL INFORMATION AND EXHIBITS CONTAINED
  THEREIN. SPECIFIC REFERENCE IS MADE TO THE DISCLAIMER INCLUDED IN
  THE DISCLOSURE STATEMENT.

  The following notes are applicable to the attached projections in all respects, unless specifically
  noted otherwise therein:

  GENERAL

  1.      Projections are based on information supplied by the Debtors or from sources believed to
  be reliable and have not been independently verified. Assumptions are subject to further review
  & revision.

  2.       Assumes Plan confirmation and an Effective Date of 7-31-16.

  3.     A key Plan element provides that Fractional Interest Holders may elect to opt-in to a
  post-confirmation Position Holder Trust, where they pay no further premiums or servicing fees
  and receive periodic cash distributions, or may elect to opt-out as a Continuing Fractional
  Holder, where they continue to pay their own premiums, a servicing fee of 3% of maturities, and
  make a 5% contribution to the Position Holder Trust.

  4.     Plan funding is financed by the Maturity Funds Facility. The Debtors, or Position Holder
  Trust Trustee, may elect to seek other funding, including exit financing, in their business
  judgement, as provided in the Plan or Position Holder Trust Agreement.

  5.      Assumes current maturities (received and pending, as of 2/28/2016) of approximately $99
  million, reduced for Maturity Funds Facility borrowings of $17 million (net balance of $82
  million), and an estimated additional $12 million/month of maturities through end of July 2016,
  reduced for an additional $8 million of Maturity Funds Facility borrowings as of the Effective
  Date. The resulting total Effective Date maturities balance (including pending receipts) is
  projected to be $157 million, less the Maturity Funds Facility balance of $25 million, or a net
  balance of $132 million), of which 5% will be contributed to the Position Holder Trust.
  Premium escrow balances are approximately $70 million.

  6.     Excess cash flow from the Position Holder Trust is distributed to investors who opt-in
  and have a Position Holder Trust Interest, subject to calculations and offsets set forth in the Plan
  and Disclosure Statement.

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  7.    Professional fees subsequent to July 2016, Creditors’ Trust recoveries and expenses, and
  any IRA Partnership expenses are not included.

  8.      Assumes 80% of Viatical policy investors opt-in to the Position Holder Trust, and 20%
  opt-out, and that 40% of Senior/Life Settlement policy investors opt-in to the Position Holder
  Trust, and 60% opt-out.

  9.      Assumes the majority of IRA Holders will opt-in to the Position Holder Trust, and only
  5% of IRA Holders will elect to become Continuing IRA Holders, receiving New IRA Notes.
  New IRA Note calculations are based upon the following assumptions: The principal value of the
  New IRA Notes is estimated to be 29% of the fractional face value of the related positions; the
  interest rate is 3% paid annually, assuming sufficient cash flow; the principal balance is paid in a
  lump sum at maturity, 15 years after the Effective Date.

  10.    Assumes the servicing business is not sold to a third party, and operations are continued
  under Newco and the Reorganized Debtor.

  POLICY PORTFOLIO

  11.     Senior mortality - Probabilistic and stochastic modeling was based on the Society of
  Actuaries’ 2015 VBT NS ALB at a mortality multiplier of 160% for males and 90% for females,
  using the table at the insured’s age in the month of the earliest policy purchased.

  12.     Viatical mortality – Probabilistic and stochastic modeling was based on the Society of
  Actuaries’ 2015 VBT NS ALB at a mortality multiplier of 500% for males and females, using
  the table at the insured’s age in the month of the earliest policy purchased.

  13.    Mortality improvement – Annual mortality improvement, based on US population data
  from 1985 – 2010 was applied by gender on an attained age basis.

  14.     Mortality multiplier wear off – Initial mortality multipliers greater than one were worn
  off to 1.00 by age 100. One half of the wear off was completed by the time the insured attained
  an age that was half-way between their age on December 1, 2015 and age 100. Initial multipliers
  less than one were not worn off or altered in any way going forward.

  15.   Premium streams – In order of preference, identified below are the relevant categories of
  premium stream information available and the assumptions thereon:

           a. Level Premium Policies - Whole life policies require level premium payments each
           period, which were determined based on information provided by the Debtors;

           b. 3rd Party Optimization Completed - The Debtors enlisted independent firms to produce
           optimized premium streams using proprietary methods; these premium streams were relied
           upon;

           c. Level Premium to Maturity Illustrations - Certain illustrations provided by the Debtors
           were used showing level premiums that would fund the policy to maturity;


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           d. Short Term Optimized Streams - The Debtors calculated up to two years of future
           premiums, which were used in the model. The percentage increase in the premium from
           year one to year two was used to calculate future premium increases until maturity, subject
           to an annual cap of 20%;

           e. Disability Waived Premiums to Age 65 - No premiums were specified as they had been
           waived to age 65. After age 65, premiums produced from a study of actual annual
           premiums on a portfolio of owned whole life policies were used;

           f. Level Term Policies – The level premium specified was used until age 65, and then the
           premiums calculated in the previous step for ages beyond 65;

           g. Current Premium Only – Where only a single premium was available, it was used for
           the first year. Subsequently, the premium was increased by 9% each year, consistent with
           the average increase in mortality rates of the 2001 CSO mortality table, which was
           commonly used in contemporaneous policies to set maximum mortality rates;

           h. No Information Available – An age band based premium stream was developed from a
           study of a portfolio of owned policies. It increased every 5 years until age 65, and
           subsequently the level whole life premium developed above was used until maturity, which
           was assumed to be age 100.

  OPERATIONS

  16.     The full 12 month projection for 2016 is shown, including amounts paid and received
  before the projected Effective Date of the Plan. The tail projection for years beyond 2045 has
  been omitted.

  17.    Assumes only a limited amount of overdue receivables will be collected from Continuing
  Fractional Holders (opt-out Investors) as cure payments.

  18.     Subject to further negotiation and Court approval, a reserve has been created in these
  projections for proposed compensation to the Class Action Counsel and Chapter 11 Trustee (for
  his service in all of the fiduciary capacities in which he has served in connection with the
  Debtors’ bankruptcy cases).

         The Class Action Litigants’ Counsel Fees are proposed to be paid out of $33 million in
  maturities on assigned Pre-Petition Abandoned Positions. The present value of the projected
  maturities cash flow at a 20% discount rate is $5.2 million.

         The Chapter 11 Trustee fee is proposed to be paid out of $16 million in maturities on
  assigned Pre-Petition Abandoned Positions, plus an amount equal to a 0.5% fee on all maturities
  from the Beneficial Ownership held by the Position Holder Trust, which amount is projected to
  be paid or reimbursed from abandoned positions. The present value of the projected cash flow at
  a 20% discount rate is $5.2 million, and it is projected that maturities from Pre-Petition
  Abandoned Positions remaining in the Position Holder Trust would be sufficient to pay (or
  reimburse) the share of maturities paid to the Chapter 11 Trustee.


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         Determination of the actual amount of the proposed compensation may not occur until
  Plan confirmation. The proposed compensation structure could be modified to include a
  combination of cash and abandoned positions, but is not anticipated to exceed the present value
  amounts noted above. Confirmation of the Plan does not grant an allowance of such
  compensation, and is without prejudice to any parties in interest position with respect to such
  proposed compensation. Such amounts have not been agreed to by either the Committee or the
  Plan Supporters and, in any event, would be subject to, among other things, Court approval.

  19.    A reserve fund is to be established for the Position Holder Trust sufficient to cover 120
  days of premium payments.

  20.    The Position Holder Trust shall provide initial funding and capitalization of the
  Creditors’ Trust and Newco.

  21.    Assumes Continuing Fractional Holders (opt-out Investors) will have the following
  Payment Default rates per year (the related Continuing Fractional Positions will be transferred to
  the Position Holder Trust pool):

  2016 0.5%
  2017 0.5%
  2018 15%
  2019 20%
  2020 25%
  2021 through 2045 30%




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